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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

ANTONIA DOUGLASS and
ELIZABETH EVERETT,

                   Plaintiffs,
v.                                                   Case No. 2:20-cv-02076-KHV-GEB
GARDEN CITY COMMUNITY COLLEGE,
HERBERT J. SWENDER, RODNEY
DOZIER, MERILYN DOUGLASS, BLAKE
WASINGER, JEFF CRIST, STEVE
MARTINEZ, and TERI WORF, Trustees of
Garden City Community College, in their
official capacities, et al.

                   Defendants.


 JOINT RESPONSE TO COURT ORDER REGARDING LOCATION OF JURY TRIAL

         Plaintiffs Elizabeth Everett and Antonia Douglass and Defendants City of Garden City,

Freddie Strawder, Garden City Community College, Merilyn Douglass, Blake Wasinger, Jeff

Crist, Steve Martinez, Teri Worf, Herbert Swender, Brice Knapp and Rodney Dozier (jointly “the

Parties”) jointly respond to the Court’s Order Regarding Location of Jury Trial and state as

follows:

I.       Background

         Plaintiffs’ initial complaint designated the location of trial as Kansas City, Kansas. [Doc.

1.] Defendants’ answers designated the trial location as Wichita, Kansas. [Docs. 92-93.] This

Court’s Phase II Scheduling Order set the deadline for any motions regarding the place of trial to

be filed on July 5, 2022. [Doc. 148.] The Parties conferred regarding the dispute over the location

of trial. Noting that Local Rule 38.1 contemplates the possibility of proceeding in Dodge City,

Kansas, the Parties jointly requested trial in Dodge City, Kansas. [Doc. 180.] During a subsequent

conference with the Court, the Parties were advised that trials in Dodge City, Kansas are rare and


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pose significant logistical concerns. The Court asked the Parties to submit additional briefing in

support of the request to hold trial in Dodge City, Kansas. The Parties conferred again and agree

that trial in either Dodge City or Wichita would be appropriate under Local Rule 40.2.

II.      This Court’s Standards On Local Rule 40.2

         This Court has broad discretion to select the place of trial and is not bound by any request

of the Parties. L.R. 40.2(e). In considering intra-district transfer issues, the District of Kansas

courts generally look to the same factors relevant to motions for change in venue under 28 U.S.C.

§ 1404(a). Twigg v. Hawker Beechcraft Corp., 2009 U.S. Dist. LEXIS 33470, 2009 WL 1044942,

at *1-2 (D. Kan. Apr. 20, 2009.         Kansas district courts consider the following factors in

determining whether to transfer the case: (1) plaintiff's choice of forum; (2) the convenience of the

witnesses; (3) the accessibility of witnesses and other sources of proof; (4) the possibility of

obtaining a fair trial; and (5) all other practical considerations that make a trial easy, expeditious

and economical. Lopez-Aguirre v. Bd. of County Comm'rs of Shawnee County, No. 12-2752-JWL,

2014 U.S. Dist. LEXIS 27968, at *5 (D. Kan. Mar. 5, 2014) (citations omitted); see also Skar v.

Spirit Aerosystems, Inc., No. 08-2493-KHV, 2008 U.S. Dist. LEXIS 103803, at *2 (D. Kan. Dec.

15, 2008).

III.     Location of Trial

         Dodge City is the most convenient location for the named Parties and the majority of

witnesses. Plaintiffs allegations in this case concern the operation of GCCC. Most of the witnesses

in this case are still in the Garden City area. The Parties have deposed or noticed to depose the

following individuals in this lawsuit: Toni Douglass (Plaintiff), Elizabeth Everett (Plaintiff), Dr.

Ryan Ruda (GCCC President), Dr. Herb Swender (former GCCC President); Rodney Dozier

(Defendant); Dr. Merilyn Douglass (Defendant); Steve Martinez (former GCCC Trustee); Dee




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Wigner (former GCCC employee); Emily Clouse (former GCCC employee); Leonard Hitz (GCCC

Trustee); Colin Lamb (GCCC Athletic Director); Jeff Crist (former GCCC Trustee); Eleanor

Everett (Plaintiff Everett’s mother); Blake Wasinger (former GCCC Trustee); Phil Hoke (GCCC

Faculty); Freddie Strawder (former GCPD); Richard Powers (GCPD employee); John Green

(former GCCC Athletic Director); Brice Knapp (former GCCC employee); Bev Temaat (former

Dodge City Community College employee); and Debra Atkinson (former GCCC employee).

          The majority of these witnesses live in and around Garden City. Plaintiffs Toni Douglass

and Liz Everett reside in Garden City. Mr. Dozier, Dr. Merilyn Douglass, Mr. Martinez, Ms.

Clouse, Mr. Hitz, Mr. Lamb, Mr. Crist, Mr. Wasinger, Mr. Strawder, Mr. Hoke, Ms. Eleanor

Everett, and Dr. Ruda all reside in the Garden City area. And while it goes without saying, Garden

City Community College is also located in Garden City. Because the majority of witnesses reside

in the Garden City area, the Parties believed that a trial in Dodge City is appropriate. Twigg v.

Hawker Beechcraft Corp., No. 08-2632-JWL, 2009 U.S. Dist. LEXIS 33470, at *6 (D. Kan. Apr.

20, 2009) (“As the courts in this district have emphasized, the relative convenience of the forum

is a primary, if not the most important, factor to consider in deciding a motion to transfer.”).1

However, the Parties are sensitive to the logistical problems of a trial in Dodge City, Kansas.

          This is a complex multiple party suit. Trial will be likely be several weeks and may

interfere with the operation of the state courthouse. While the Parties have no personal knowledge

of the local Ford County dockets, the Parties assume that Ford County District Court is (like most

courts) busy, especially with criminal matters that may have been delayed due to Covid-19.2


1
    Because this is not a contested motion the Parties do not discuss the other factors
2
  The Kansas Supreme Court stayed various state court deadlines through August 2, 2021. See
Administrative       Order     2021-PR-100       (lifting    deadlines),       available   at
https://www.kscourts.org/KSCourts/media/KsCourts/Orders/2021-PR-100.pdf.           The Kansas
Legislature also passed 2021 House Bill 2078, which suspended the speedy trial statute.


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Therefore, after being apprised by this Court of the complexities of holding a trial in Dodge City,

Kansas, the Parties conferred and agreed that a trial in Wichita, Kansas is also appropriate. Of this

Court’s three courthouses, Wichita is the closest to Garden City and is the most accessible to

witnesses and other sources of proof. See Semsroth v. City of Wichita, No. 06-2376-KHV, 2007

U.S. Dist. LEXIS 64414, at *3 (D. Kan. Aug. 29, 2007). The Parties have no reason to believe a

fair trial cannot be had in Wichita, Kansas. Therefore, the Parties also consent to trial in Wichita,

Kansas.

IV.      Conclusion

         The Parties agree that both Dodge City and Wichita are appropriate trial venues and

consent to a trial location in either location.

/s/ Jean Lamfers (w/permission)                    /s/ Jeremy K. Schrag
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                                CERTIFICATE OF SERVICE

         I certify that on August 31, 2022, I filed the above Response to Court Order Regarding

Location of Jury Trial using the court’s electronic filing system which will send notice to all

counsel of record.

                                               /s/ Jeremy K. Schrag
                                               Jeremy K. Schrag




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